Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 1 of 34


         YR

 Nov 19, 2020                20-MJ-4049-REID
          Miami
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 2 of 34




                                                   UNDER SEAL
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 3 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 4 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 5 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 6 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 7 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 8 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 9 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 10 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 11 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 12 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 13 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 14 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 15 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 16 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 17 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 18 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 19 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 20 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 21 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 22 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 23 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 24 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 25 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 26 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 27 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 28 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 29 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 30 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 31 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 32 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 33 of 34
Case 1:20-mj-04049-LMR Document 1 Entered on FLSD Docket 11/20/2020 Page 34 of 34
